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9                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
10
        RAMON TORRES                             No. 1:20-cv-03241-SMJ
11      HERNANDEZ, and
        FAMILIAS UNIDAS POR LA                   AMICUS CURIAE
12      JUSTICIA, AFL-CIO, a labor               BRIEF OF THE
        organization,                            ATTORNEY GENERAL
13                                               OF WASHINGTON
                          Plaintiffs,
14                                               February 18, 2021
                v.                               Without Oral Argument:
15                                               2:00 p.m.
        UNITED STATES
16      DEPARTMENT OF LABOR
        and MILTON AL STEWART,
17      in his official capacity as
        United States Secretary of
18      Labor,
19                        Defendants.
20

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1                                I.         INTRODUCTION

2            The Attorney General submits this brief to address the questions of equity

3    and the public interest presented by Plaintiffs’ motion for preliminary injunction

4    and Defendant U.S. Department of Labor’s (USDOL) response. See ECF Nos.

5    19, 23; Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008). The Attorney

6    General also seeks to correct the record regarding the role of the Washington

7    State Employment Security Department (ESD) in the 2019 Agricultural Peak

8    Employment Wage and Practices Employer and Worker Surveys.

9                                     II.    ARGUMENT

10   A.      Washington Farmworkers’ Skilled Work Anchors the Local Food
             Supply and Boosts the State’s Economy
11
             Washington is an agricultural powerhouse, in large part due to the hard
12
     work and skill of the men and women who work in the fields. Washington
13
     farmworkers harvest more than 300 crops each year, and Washington farms are
14
     the highest producers in the nation of apples, blueberries, sweet cherries, pears,
15
     hops, concord grapes, spearmint oil, and wrinkled seed peas.1
16
             Agriculture is a critical driver of the state economy, constituting 12% of
17

18   1
         Wash. State Emp. Sec. Dep’t, 2017 Agricultural Workforce Report: Labor
19
     Market and Economic Analysis (2017 Agriculture Workforce Report) 5
20
     (Sept. 2019),    https://esdorchardstorage.blob.core.windows.net/esdwa/Default/
21
     ESDWAGOV/labor-market-info/Libraries/Industry-reports/Annual-Ag-
22
     Report/2017%20Agricultural%20Workforce%20Report.pdf.

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1    the economy overall.2 In 2019, Washington’s farms produced a gross domestic

2    product of more than $8 billion, a figure that has nearly doubled in the last fifteen

3    years.3 Combined, agriculture and food manufacturing operations generate more

4    than $20.4 billion in annual revenue.4

5              Washington farmworkers are skilled and productive—to the benefit of

6    their employers and the state. According to a 2019 analysis by ESD, agricultural

7    employers in Washington enjoy a per-employee GDP that is 24.7% higher than

8    the national average.5 And farmworkers are productive compared to workers in

9    other industries: the agricultural sector’s per-employee GDP is 33.5% above the

10   construction industry and 108.1% above food and accommodation services.6

11

12   2
         Wash. Farm Bureau, https://wsfb.com/ag-in-washington.
13   3
         U.S. Bureau of Econ. Analysis, Real GDP by State: Washington: Farms, 2019,
14
     https://apps.bea.gov/iTable/iTable.cfm?reqid=70&step=1#reqid=70&step=1
15
     (choose “Annual Gross Domestic Product (GDP) By State”; then choose “Real
16
     GDP in chained dollars (SAGDP9)” and “NAICS (1997-forward)”; and then
17
     choose “Washington,” “Farms,” “Levels,” and “2019”).
18   4
         Wash. State Dep’t of Com., Choose Wash., A bumper crop of opportunity:
19
     Industry snapshot, http://choosewashingtonstate.com/why-washington/our-key-
20
     sectors/agriculture-food-processing/.
21   5
         2017 Agricultural Workforce Report, supra note 1, at 5, 5 fig.1.
22   6
         Id.

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1     B.       Washington Farmworkers Have Been Asked                                to    Shoulder
               Extraordinary Burdens During the Pandemic
2
               As the COVID-19 pandemic descended, the United Nations warned that
3
         lockdown measures and worker scarcity could lead to a global food shortage.7
4
         Washington’s government took steps to avoid a disruption in the food supply.
5
         Beginning with the first “Stay Home, Stay Healthy” order, Governor Inslee
6
         designated farm work (along with meat processing, dairy, and other work in the
7
         food-and-agriculture sector) as “essential” work.8 Farmworkers have been
8
         exempt from every extension and modification of the original Stay Home, Stay
9
         Healthy order.9 The U.S. government likewise designated “food and agriculture”
10
     a “critical infrastructure industry” and assigned workers in that industry a
11

12    7
           See, e.g., Fiona Harvey, Coronavirus measures could cause global food
13
         shortage, UN warns, Guardian (Mar. 26, 2020), https://www.theguardian.com/
14
         global-development/2020/mar/26/coronavirus-measures-could-cause-global-
15
         food-shortage-un-warns.
16    8
          See Proclamation of the Governor No. 20-25, Appendix (Wash. Mar. 23, 2020)
17
         (essential   critical    infrastructure     workers),      https://www.governor.wa.gov/
18
         sites/default/files/WA%20Essential%20Critical%20Infrastructure%20Workers
19
         %20%28Final%29.pdf.
20   9
         See Proclamations of the Governor Nos. 20-25–20-25.12 (Wash. Mar. 19, 2020
21
         to Jan. 11, 2021), https://www.governor.wa.gov/office-governor/official-
22
         actions/proclamations.

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1    “special responsibility to maintain your normal work schedule.”10

2            Since the very beginning of the pandemic, therefore, farmworkers have

3    been asked to report to work every day, even while other Washingtonians shelter

4    at home. This has exposed farmworkers to increased COVID-19 risk, given that

5    “[f]arm workers often work side by side close to one another, and some live

6    together on the farm in temporary worker housing.”11

7            The health impacts for Washington farmworkers have been sobering.

8    Despite orders of the Governor to require agricultural-worker safety protocols

9    and testing, and efforts by the Washington State Departments of Agriculture,

10   Health, and Labor & Industries to provide COVID-safety mandates, training

11   materials, and response plans,12 virus outbreaks at farms have been

12
13   10
          Memorandum from Christopher C. Krebs, Dir. Cybersecurity & Infrastructure
14
     Sec. Agency, on Identification of Essential Critical Infrastructure Workers
15
     During     COVID-19     Response    (Mar.   19,      2020),   https://www.cisa.gov/
16
     sites/default/files/publications/CISA-Guidance-on-Essential-Critical-
17
     Infrastructure-Workers-1-20-508c.pdf (quoting President Trump’s guidance).
18   11
          Wash. State Dep’t of Health, Farm Workers and COVID-19 (May 1, 2020),
19
     https://medium.com/wadepthealth/farm-workers-and-covid-19-730c876c079a.
20   12
          See Proclamation of the Governor, No. 20-57.1 (Wash. Aug. 19, 2020),
21
     https://www.governor.wa.gov/sites/default/files/proclamations/proc_20-57.1.pd
22
     f?utm_medium=email&utm_source=govdelivery (concerning the health of

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1    commonplace.13 This has resulted in disproportionately high rates of farmworker

2    infection and illness.14 Hispanic or Latino farmworkers are particularly

3    vulnerable: the CDC found that although they make up 36.5% of all food-

4    manufacturing and agriculture workers in surveyed states (including

5    Washington), they account for 72.8% of workers to contract COVID-19.15

6

7
     agricultural workers); Wash. State Coronavirus Response (COVID-19),
8
     Information About Agricultural Worker Safety, https://coronavirus.wa.gov/
9
     information-for/business/agricultural-worker-safety; Wash. State Dep’t of
10
     Agric., COVID-19 Information, https://agr.wa.gov/about-wsda/news-and-media-
11
     relations/covid-19; Wash. Admin. Code §§ 246-358-002; 296-307-16102
12
     (emergency farmworker housing rules).
13   13
          See, e.g., Nat’l Ctr. for Farmworker Health, COVID-19 in Rural America:
14
     Impact on Farms & Agricultural Workers 5–6 (Feb. 1, 2021), http://www.ncfh.
15
     org/uploads/3/8/6/8/38685499/msaws_and_covid-19_fact_sheet_2.1.21.pdf
16
     (collecting reports of COVID outbreaks and deaths on Washington farms).
17   14
          See, e.g., Richard Read, COVID-19 strikes Washington state farmworkers and
18
     swamps rural hospitals, LA Times (Aug. 4, 2020), https://www.latimes.com/
19
     world-nation/story/2020-08-04/coronavirus-northwest-farm-workers.
20   15
          Ctrs. for Disease Control & Prevention, Coronavirus Disease Among Workers
21
     in Food Processing, Food Manufacturing, and Agriculture Workplaces (Jan.
22
     2021), https://wwwnc.cdc.gov/eid/article/27/1/20-3821_article.

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1            In sum, during the pandemic, farmworkers have continued to work and

2    secure the food supply, despite significant risks to themselves and their families.

3    The Attorney General invites the Court to give appropriate weight to these public

4    interests.

5    C.      Lower Wages Will Exacerbate Poverty in Farmworker Communities
6            To the extent the elimination of piece rate wages in favor of an hourly wage

7    guarantee artificially depresses farmworker wages, that will harm Washington’s

8    farmworker families who already struggle to meet basic needs. National and state

9    data reflect the ugly truth that farmworkers, despite the difficult and critical work

10   they perform to keep food on our tables, are paid wages that keep them in

11   poverty.16

12           Farmworkers have historically faced acute challenges in finding affordable

13

14   16
          Trish Hernandez & Susan Gabbard, Findings from the National Agricultural
15
     Workers Survey (NAWS) 2015-2016: A Demographic and Employment Profile of
16
     United States Farmworkers, Research Report No. 13 36 (Jan. 2018),
17
     https://www.dol.gov/sites/dolgov/files/ETA/naws/pdfs/NAWS_Research_Repo
18
     rt_13.pdf (one-third of farmworker family incomes below poverty level); Wash.
19
     State Farmworker Hous. Tr., The Washington State Farmworker Survey, A
20
     Sustainable Bounty: Investing in Our Agricultural Future 4 (Jul. 2008),
21
     http://lib.ncfh.org/pdfs/7482.pdf (average household income of Washington
22
     farmworkers is below the federal poverty level for a family of four).

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1    housing given their low wages.17 They face hunger and food insecurity,

2    particularly because their work is seasonal, rather than year-round.18 And many

3    farmworkers are uninsured and often seek care at free public or migrant health

4    clinics, or forego healthcare if they cannot afford to pay out of pocket.19 In light

5    of these facts, neither equity nor the public interest countenance an artificial

6    depression of farmworker wages.20

7

8    17
          Wash. State Dep’t of Cmty., Trade & Econ. Dev., Farmworker Housing in
9
     Washington       State:   Safe,   Decent,    and       Affordable   1    (Mar.      2005),
10
     https://www.commerce.wa.gov/wp-content/uploads/2018/06/HTF-Reports-Far
11
     m-Worker-Housing-Report.pdf (“persistent lack of safe, affordable housing” for
12
     farmworkers who “do not earn enough to afford market-rate housing”).
13   18
          Farmworker Just., Hunger amidst plenty: food assistance in farmworker
14
     communities,          https://www.farmworkerjustice.org/blog-post/hunger-amidst-
15
     plenty-food-assistance-in-farmworker-communities/ (“Numerous studies across
16
     the United States have thoroughly documented the staggering rates of both
17
     hunger and food insecurity that plague farmworker communities.”).
18   19
          The Washington State Farmworker Survey, supra note 16, at 7 (80% of
19
     Washington farmworkers surveyed lacked health insurance; 69% receive
20
     healthcare from community or migrant clinics).
21   20
          Amicus is aware of no credible factual support for the claim that the piece rate
22
     was abandoned in response to Lopez Demetrio v. Sakuma Bros. Farms, Inc., 355

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1    D.    USDOL Had the Final Say in Determining Whether the Hourly Wage
           Guarantee Question Was Asked, and Whether Data from the
2          Employee Survey Would Be Used

3          1.     USDOL instructed ESD to include the hourly wage guarantee

4          Washington officials were surprised to read USDOL’s assertion that it is

5    not responsible for the decision to include the hourly guarantee on the 2019

6    employer survey. See ECF No. 19 at 31. As USDOL knows, ESD included the

7    guaranteed hourly wage rate question based on direction from USDOL.

8          The guaranteed hourly wage rate question was first included in ESD’s

9    2016 employer survey instrument as a result of wafla’s campaign to encourage

10   association members to respond to the 2015 survey iteration with hourly wage

11   rates. Accord ECF No. 30-2 at ¶ 17. In developing the 2016 survey, an ESD

12   economist sought USDOL’s guidance on wafla’s proposed question about piece

13   rates with an hourly guarantee. See Exhibit A (explaining wafla’s request for a

14   question about “piece rates [that] guarantee hourly earnings”).

15          ESD sought direction from Brian Pasternak, a senior USDOL official with

16   the Office of Foreign Labor Certification—the top office in Washington, D.C.

17   that “provides national leadership and policy guidance” on H-2A program

18
19
     P.3d 258, 262 (Wash. 2015), and Carranza v. Dovex Fruit Co., 416 P.3d 1205,
20
     1207-08 (Wash. 2018). Cf. ECF No. 19 at 24 (citing two blog posts). Indeed,
21
     ESD’s 2019 worker survey provides data that over 86% of surveyed workers still
22
     reported being paid the piece rate after those cases were decided. ECF No. 6-32.

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1     implementation.21 Pasternak responded that he had “no concern” with including

2     the question. Exhibit A.

3             Following the survey, the hourly wage guarantee continued to raise

4     concerns. Employers had submitted internally contradictory responses, which

5     were noticed by analysts at ESD and USDOL. For example, after ESD submitted

6     a batch of ETA 232s, an analyst at USDOL contacted ESD to point out that some

7     employers reported an hourly wage rate as well as a lower hourly guarantee for

8     the same activity. See Exhibit B. The ESD economist agreed that the responses

9     did not make sense. Id. (“We agree with you that it does not make sense for there

10    to be an hourly earnings guarantee when paid by the hour—however, this is what

11    some employers indicated.”). ESD recommended for DOL “not to use the hourly

12    earnings guarantee portion when the prevailing rate is an hourly rate,” but said

13    “we understand that the final determination is DOL’s.” Id.

14            Pasternak initially agreed that the employer responses reflected a problem.

15    See id. ESD again agreed, responding, “we think that some employers might have

16    mixed up hourly rates and hourly earnings guarantee . . . . For now, we would

17    suggest just reporting the hourly rate paid.” Id. Shortly thereafter, however,

18    Pasternak clarified, with respect to the piece rate, “that the addition of the hourly

19    guarantee is a GOOD IDEA!” Id. He specified, “[w]e do need to have that noted

20

21    21
           U.S. Dep’t of Labor, Emp. & Training Admin., Off. of Foreign Labor
22
      Certification, https://www.foreignlaborcert.doleta.gov/mission.cfm.

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1     in any wage survey results.” Id. Based on this specific direction and USDOL’s

2     instructions on Form ETA 232, ESD reported piece rates with hourly guarantees

3     separately from base wage structures reported solely as piece rates. Id.; accord

4     ECF No. 24-4 at 4 (Form ETA 232 instructions that, “Piece rates with earnings

5     guarantee represent a different method of payment from piece rates without

6     earnings guarantee, and should be listed separately.”).

7           2.     USDOL decided not to use or consider the worker survey results

8           ESD has conducted an agricultural worker survey since 2016, focusing on

9     the apple and cherry harvests. ECF No. 6-32 at 2. The 2019 worker survey ran

10    from July through October 2019. Id. ESD received 2,059 unique responses, using

11    two data collection modes—telephone interviews and field administration. Id.

12          The use of the worker survey to determine prevailing wage has been

13    limited by USDOL policy. In 2016, ESD requested guidance from DOL “on how

14    to use worker survey responses to compare with employer responses.” Id. at 3.

15    The response instruction was that “USDOL does not ‘use’ worker survey results.

16    Worker surveys are a mechanism by which [ESD] can ‘validate’ or ‘verify’ the

17    wage survey responses that come in from the growers.” Id. Based on USDOL’s

18    directive, ESD uses the worker responses to this important survey as a tool to

19    compare employer responses; however, ESD follows USDOL’s direction and

20    prepares the ETA 232 forms based solely on employer responses. Id.

21                                 III.   CONCLUSION

22          Amicus requests that the Court consider the information provided herein.

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1           Dated this 11th day of February 2021.

2

3                                   Respectfully submitted,

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13                                  Attorneys for Amicus Curiae Attorney General
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